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lN THE UNlTED STATES D|STR|CT COURT
FOR THE WESTERN DlSTR|CT OF TENNESSEE 1155 w 93 opt i{;>; gi_.__
WESTERN DlV|S|ON

 

 

UN|TED STATES OF AMER|CA

P|aintiff
VS.
CR. NO. 05-20067-D /
05-20071-D
RiTA WlLLlAl\/lSON "'""
Defendant.

 

ORDER ON CONT|NUANCE AND SPEC|FY|NG PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on |Vlay 19, 2005. At that time, counsel forthe
defendant requested a continuance of the June 6, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to Ju|y 5, 2005 with a r_epo_rt
date of Thursdav. June 30, 2005. at 9:00 a.m., in Courtroom 3. 9th F|oor of the Federa|
Building, i\/|emphis, TN.

The period from June 17, 2005 through Juiy 15, 2005 is excludable under 18
U.S.C. § 31 61 (h)(8)(B)(iv) because the ends ofjustice served in allowing for additional time
to prepare outweigh the need for a speedy tria|.

|T |S SO ORDERED thing/Q day of lVlay, 2005.

    

RNlCE B. D NALD
N|TED STATES DlSTR|CT JUDGE

   

UNITED sATE DISTRICT COURT - WETERN DISTRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 32 in
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Honorable Bernice Donald
US DISTRICT COURT

